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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

  JONATHAN GOICOECHEA,
                                                   Civil Action No.: 3:23-cv-03900-RK-DEA
                                 Plaintiff,

                  v.                               [PROPOSED] ORDER

  JPMORGAN CHASE & CO.; and, JOHN
  DOES 1-5 AND 6-10,

                                 Defendants.



        This matter is before the Court on a motion by Defendant JPMorgan Chase Bank, N.A.

 (incorrectly identified in the Complaint as “JP Morgan Chase & Co.”) (“Defendant”), to dismiss

 Plaintiff’s Complaint under Federal Rule of Civil Procedure 12(b)(6) (the “Motion to Dismiss”).

        For the reasons expressed in the Court’s Opinion,

        IT IS on this ________ day of ___________________ 2023,

        ORDERED that Defendant’s Motion to Dismiss is hereby GRANTED, and Plaintiff’s

 Complaint is hereby DISMISSED in its entirety and with prejudice.


                                               The Honorable Robert Kirsch, U.S.D.J.
